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 September 25, 2024
 VIA ECF

 Honorable Michael A. Hammer
 United States Magistrate Judge
 Martin Luther King Jr. Building
 50 Walnut Street
 Newark, NJ 07102

 Re:    In re American Medical Collection Agency, Inc. Customer Data Sec. Breach Litig.
        No. 19-md-2904(MCA)(MAH)

 Dear Judge Hammer:

 We are counsel for Defendant Laboratory Corporation of America Holdings in the above-
 referenced matter. In accordance with the Court’s Order of August 7, 2024 (ECF 716), enclosed
 please find a proposed amended consolidated scheduling order that that has been agreed to by all
 the parties regarding the schedule for completion of briefing and related expert discovery for
 class certification.

 The parties respectfully request that this Court enter the Proposed Amended Consolidated
 Scheduling Order, attached hereto as Exhibit 1.

 We thank the Court for its attention to this matter.

 Respectfully submitted,

 /s/ Edward J. Fanning, Jr.

 Edward J. Fanning, Jr.

 cc: All Counsel of Record (via ECF)
